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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,                      CIVIL ACTION
     PLAINTIFF,                                                     NO. 2:21-CV-1774

 v.                                                                 JURY DEMAND

 WILLIS-KNIGHTON MEDICAL CENTER
     DEFENDANT.


                                     COMPLAINT

                               NATURE OF THE ACTION

      This is an action under Title I of the Americans with Disabilities Act of 1990

(“ADA”) and Title I of the Civil Rights Act of 1991 to correct unlawful employment

practices on the basis of disability and to provide appropriate relief to Chanel

Bradford (“Ms. Bradford”) and to other aggrieved individuals. As alleged with

greater particularity below, the Defendant, Willis-Knighton Medical Center

(“WKMC”), discriminated against Ms. Bradford and other aggrieved individuals.

                                JURISDICTION & VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 451,

§ 1331, § 1337, § 1343, and § 1345. This action is authorized and instituted

pursuant to the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C.

§ 12117(a), which incorporates by reference Title VII of the Civil Rights Act of 1964

(“Title VII”), 42 U.S.C.§ 2000e-5(f)(1) and (3), and the Civil Rights Act of 1991, 42

U.S.C. § 1981a.

      2.     The employment practices alleged to be unlawful were committed in

the state of Louisiana and, therefore, within the jurisdiction and venue of the

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United States District Court for the Eastern District of Louisiana pursuant to Title

VII, 42 U.S.C.§ 2000e-5(f)(3).

                                      PARTIES

       3.    Plaintiff, the U.S. Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation, and enforcement of Title I of the ADA and is

expressly authorized to bring this action by the ADA, 42 U.S.C. § 12117(a), which

incorporates by reference Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3) and 42 U.S.C.

§ 2000e-6.

       4.    At all relevant times, WKMC has continuously been a Louisiana

nonprofit corporation doing business in Shreveport, Louisiana, and has

continuously had at least 15 employees.

       5.    At all relevant times, WKMC has continuously been an employer

engaged in an industry affecting commerce under the ADA, 42 U.S.C.§ 12111(5) and

(7).

       6.    At all relevant times, WKMC has been a covered entity under the

ADA, 42 U.S.C. § 12111(2).

                           ADMINISTRATIVE PROCEDURES

       7.    More than 30 days prior to the institution of this action, Ms. Bradford

filed a Charge of Discrimination (“Charge”) and Amended Charge of Discrimination

(“Amended Charge”) with the Commission alleging violations of the ADA by

WKMC.



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       8.       On or about February 8, 2019, the Commission issued to WKMC a

Letter of Determination (“LOD”) finding reasonable cause to believe that WKMC

violated the ADA and inviting WKMC to join with the Commission in informal

methods of conciliation to endeavor to eliminate the unlawful employment practices

and provide appropriate relief.

       9.       The Commission engaged in communications with WKMC to provide

WKMC the opportunity to remedy the discriminatory practices described in the

LOD through a conciliation agreement.

       10.      On or about May 23, 2019, the Commission issued to WKMC a Notice

of Failure of Conciliation advising WKMC that the Commission was unable to

secure from WKMC a conciliation agreement acceptable to the Commission.

       11.      All conditions precedent to the institution of this action have been

fulfilled.

                                 STATEMENT OF CLAIMS

       12.      Since at least 2014, WKMC has engaged in unlawful employment

practices, in violation of the ADA, 42 U.S.C. § 12112(a) and (b). In particular, it has

utilized policies that had the effect of discrimination on the basis of disability, it has

used qualification standards that have screened out and/or tended to screen out

employees with disabilities, and it has failed to engage in a meaningful interactive

process with, refused to provide reasonable accommodations to, and terminated Ms.

Bradford and other aggrieved individuals. WKMC has stated that it has amended

its policies.



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      A.     WKMC has utilized a standard—its leave and light duty

policies—that has had the effect of discrimination on the basis of disability in

violation of the ADA. 42 U.S.C. § 12112(b)(3) and § 12112(b)(5). Under its

policies, WKMC failed to engage in a meaningful interactive process with or

provide reasonable accommodations to employees who had exceeded the fixed

leave and light duty cap.

      B.     WKMC has utilized a standard—its leave and light duty

policies—that has had the effect of discrimination on the basis of disability in

violation of the ADA. 42 U.S.C. § 12112(b)(3). Under its policies, WKMC

required employees to be fully fit for duty (that is, “100% healed”) if those

employees exceeded the fixed leave and light duty cap, regardless of whether

those employees could perform the essential functions of their jobs, with or

without reasonable accommodations.

      C.     WKMC has used a qualification standard—its leave and light

duty policies—that has screened out and tended to screen out employees with

disabilities in violation of the ADA. 42 U.S.C. § 12112(b)(6). Under its

policies, WKMC failed to engage in a meaningful interactive process with or

provide reasonable accommodations to employees who had exceeded the fixed

leave and light duty cap.

      D.     WKMC has used a qualification standard—its leave and light

duty policies—that has screened out and tended to screen out employees with

disabilities in violation of the ADA. 42 U.S.C. § 12112(b)(6). Under its

policies, WKMC required employees to be fully fit for duty (that is, “100%
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healed”) if those employees exceeded the fixed leave and light duty cap,

regardless of whether those employees could perform the essential functions

of their jobs, with or without reasonable accommodations.

      E.     WKMC took adverse employment actions against Ms. Bradford

and other aggrieved individuals, because of disability, as discussed herein.

      F.     WKMC has failed to engage in a meaningful interactive process

with and refused to provide reasonable accommodations to Ms. Bradford and

other aggrieved individuals, and it terminated Ms. Bradford and other

aggrieved individuals who needed or who it perceived as needing reasonable

accommodations in violation of the ADA. 42 U.S.C. § 12112(b)(5). Upon

information and belief, Ms. Bradford and the other aggrieved individuals are

qualified individuals with disabilities under the ADA, 42 U.S.C. § 12102 and

§ 12111(8). Ms. Bradford and the other aggrieved individuals were at all

relevant times able to perform the essential functions of their positions, with

or without any reasonable accommodation.

      G.     For example:

             1.     In 2012, WKMC hired Ms. Bradford.

             2.     Ms. Bradford had impairments (including fibroids,

                    dysmorphia, pelvic pain, poor fetal growth affecting the

                    management of the mother, elderly multigravida,

                    antepartum conditions or complications, and

                    endometritis) that substantially limited one or more


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                           major life activities (including but not limited to lifting

                           and the operation of the reproductive functions).

                     3.    In 2015, Ms. Bradford requested light or limited duty as a

                           reasonable accommodation. WKMC failed to engage in a

                           meaningful interactive process with Ms. Bradford and

                           automatically refused to provide Ms. Bradford with any

                           reasonable accommodation because WKMC determined

                           that she had exceeded its fixed leave and light duty cap

                           under its leave and light duty policies.

                     4.    WKMC terminated Ms. Bradford because she had

                           exceeded the leave and light duty cap and because she

                           could not return to work without restrictions.

      13.      The effect of WKMC’s unlawful employment practices complained of

above has been to deprive Ms. Bradford and other aggrieved individuals of equal

employment opportunities and otherwise adversely affect their status as employees

because of disability in violation of the ADA.

      14.      The unlawful employment practices complained of above were

intentional.

      15.      WKMC acted with malice and/or reckless indifference to the federally

protected rights of Ms. Bradford and the other aggrieved individuals when it

engaged in the unlawful employment practices complained of above.

                                 PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:
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       A.     Grant a permanent injunction enjoining WKMC its officers,

agents, servants, employees, attorneys, and all persons in active concert or

participation with it, from discriminating against its applicants or employees

on the basis of disability.

       B.     Order WKMC to institute and carry out policies, practices, and

programs which provide equal employment opportunities for qualified

individuals with disabilities, and which eradicate the effects of its past and

present unlawful employment practices.

       C.     Order WKMC to make whole Ms. Bradford and other aggrieved

individuals, by providing appropriate backpay with prejudgment interest, in

amounts to be determined at trial, and other affirmative relief necessary to

eradicate the effects of its unlawful employment practices, including but not

limited to reinstatement and/or front pay.

       D.     Order WKMC to post and keep posted the notices required by

the ADA, 42 U.S.C. § 12115, which incorporates by reference Title VII, 42

U.S.C. § 2000e-10(a).

       E.     Order WKMC to make and preserve all records relevant to the

determination of whether unlawful employment practices have been or are

being committed, in accordance with the ADA, 42 U.S.C. § 12117(a), which

incorporates by reference Title VII, 42 U.S.C. § 2000e-8(c).

       F.     Order WKMC to make whole Ms. Bradford and other aggrieved

individuals by providing compensation for past and future pecuniary losses



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      resulting from the unlawful employment practices described above, including

      job-search and medical expenses, in amounts to be determined at trial.

             G.    Order WKMC to make whole Ms. Bradford and other aggrieved

      individuals by providing compensation for past and future nonpecuniary

      losses resulting from the unlawful practices complained of above, including

      emotional pain and suffering, inconvenience, and humiliation, in amounts to

      be determined at trial.

             H.    Order WKMC to pay punitive damages for its malicious and/or

      reckless conduct, as described above, to Ms. Bradford and other aggrieved

      individuals, in amounts to be determined at trial.

             I.    Grant such further relief as the Court deems necessary and

      proper in the public interest.

             J.    Award the Commission its costs of this action.

                                JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by this

Complaint that are triable to a jury.




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                                    Respectfully submitted,

                                    Rudy L. Sustaita
                                    Regional Attorney
                                    U.S. Equal Employment Opportunity
                                    Commission
                                    Houston District Office
                                    1919 Smith Street, 7th Floor
                                    Houston, Texas 77002
                                    Phone: (346) 327-7691
                                    Texas Bar No. 19523560

                                    Gregory T. Juge
                                    Supervisory Trial Attorney
                                    U.S. Equal Employment Opportunity
                                    Commission
                                    New Orleans Field Office
                                    Hale Boggs Federal Building
                                    500 Poydras Street, Suite 809
                                    New Orleans, LA 70130
                                    Phone: (504) 676-8239
                                    Louisiana Bar No. 20890

                                    /s/ Andrew B. Kingsley
                                    Andrew B. Kingsley (Lead)
                                    Senior Trial Attorney
                                    U.S. Equal Employment Opportunity
                                    Commission
                                    New Orleans Field Office
                                    Hale Boggs Federal Building
                                    500 Poydras Street, Suite 809
                                    New Orleans, LA 70130
                                    Phone: (504) 208-8661
                                    Email: andrew.kingsley@eeoc.gov
                                    Louisiana Bar No. 35865

                                    Elizabeth J. Owen
                                    Senior Trial Attorney
                                    U.S. Equal Employment Opportunity
                                    Commission
                                    New Orleans Field Office
                                    Hale Boggs Federal Building
                                    500 Poydras Street, Suite 809
                                    New Orleans, LA 70130
                                    Phone: (504) 635-2535
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                                      Email: elizabeth.owen@eeoc.gov
                                      Louisiana Bar No. 33620

                                      Peter Theis
                                      Senior Trial Attorney
                                      U.S. Equal Employment Opportunity
                                      Commission
                                      New Orleans Field Office
                                      Hale Boggs Federal Building
                                      500 Poydras Street, Suite 809
                                      New Orleans, LA 70130
                                      Phone: (504) 635-2548
                                      Email: peter.theis@eeoc.gov
                                      Louisiana Bar No. 34786

                                      COUNSEL FOR U.S. EQUAL
                                      EMPLOYMENT OPPORTUNITY
                                      COMMISSION

             REGISTERED AGENT FOR SERVICE OF PROCESS:


             Mr. Lamar P. Pugh
             o/b/o Willis-Knighton Medical Center
             333 Texas Street, Suite 2100
             Shreveport, LA 71101




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